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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Crim. Action No. 19-0018 (ABJ)
                                    )
ROGER J. STONE, JR.,                )
                                    )
                  Defendant.        )
____________________________________)

                                              ORDER

        At the status conference held in this case on February 1, 2019, the parties were invited to

file submissions by February 8, 2019 setting forth any reasons why the Court should not enter an

order pursuant to Local Criminal Rule 57.7(c) requiring all interested parties, in particular, counsel

for both sides, to refrain from making further statements to the media or in public settings that are

“substantially likely to have a materially prejudicial effect” on this case. Gentile v. State Bar of

Nevada, 501 U.S. 1030, 1076 (1991).

       The Court has received submissions from both sides, as well as a filing from a non-party

in the form of an amicus curiae submission, and it has reviewed and considered them all. See

Roger Stone’s Resp. to the Court’s Opportunity to Respond to the Possibility of the Entry of an

Order Under Local Criminal Rule 57.7(b) & (c) [Dkt. # 28]; Gov’t’s Filing Regarding Imposition

of Order Pursuant to Local Criminal Rule 57.7(c) [Dkt. # 29]; Amici Curiae Br. of Dr. Jerome

Corsi [Dkt. # 35].

       “Because lawyers have special access to information through discovery and client

communications, their extrajudicial statements pose a threat to the fairness of a pending

proceeding.” Gentile, 501 U.S. at 1074. Thus, the Rules of this Court provide:
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               It is the duty of the lawyer or law firm not to release or authorize the release
               of information or opinion which a reasonable person would expect to be
               disseminated by means of public communication, in connection with
               pending or imminent criminal litigation with which the lawyer or the law
               firm is associated, if there is a reasonable likelihood that such dissemination
               will interfere with a fair trial or otherwise prejudice the due administration
               of justice.

LCrR 57.7(b)(1).

        Rule 57.7(b)(1) applies to any case in this district. Local Criminal Rule 57.7(c) goes on to

set forth specific guidance for widely publicized cases, and it gives the Court authority “[i]n a

widely publicized or sensational criminal case, . . . [to] issue a special order governing such matters

as extrajudicial statements by parties, witnesses and attorneys likely to interfere with the rights of

the accused to a fair trial by an impartial jury.” LCrR 57.7(c). As the Supreme Court has noted:

               The limitations are aimed at two principal evils: (1) comments that are likely
               to influence the actual outcome of the trial, and (2) comments that are likely
               to prejudice the jury venire, even if an untainted panel can ultimately be
               found. Few, if any, interests under the Constitution are more fundamental
               than the right to a fair trial by “impartial” jurors, and an outcome affected
               by extrajudicial statements would violate that fundamental right.

Gentile, 501 U.S. at 1075. For these reasons, given the widespread media coverage this case has

already received, the Court will impose a limitation on public communications by lawyers at this

time.

        In addition, the Court has particular concerns about the potential impact of public

statements made in the District of Columbia, directed at individuals who may be members of the

venire from which the jury will be drawn. And, in light of the size and vociferousness of the

crowds that have already been attracted to these proceedings, and the risk that public

pronouncements by the participants may inflame those gatherings, the Court is persuaded that a

narrowly tailored order governing the conduct of participants in the matter while they are at the

courthouse is necessary to advance the Court’s legitimate interest in maintaining the order and


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decorum that is essential to court proceedings and the fair administration of justice. See Cox v.

Louisiana, 379 U.S. 559, 562 (1965) (“[I]t is of the utmost importance that the administration of

justice be absolutely fair and orderly. . . . A State may adopt safeguards necessary and appropriate

to assure that the administration of justice at all stages is free from outside control and

influence.”); 1 see also Hodge v. Talkin, 799 F. 3d 1145, 1163–64 (D.C. Cir. 2015), reh’g en banc

denied (recognizing the significance of the “interest in maintaining suitable decorum in the area of

a courthouse” and emphasizing the continuing “vitality” of the “genuine” and “compelling”

“interest in preserving public confidence in the integrity of the judicial process”).

       Therefore, in order to safeguard the defendant’s right to a fair trial; to ensure that the Court

has the ability to seat a jury that has not been tainted by pretrial publicity; to maintain the dignity

and seriousness of the courthouse and these proceedings; and to protect the safety and security of

parties, witnesses, jurors, attorneys, court personnel, and members of the public seeking access to

the building to conduct court business and attend these and other public proceedings, the following

orders are now in effect in this case:

       It is hereby ORDERED that

               Counsel for the parties and the witnesses must refrain from making
               statements to the media or in public settings that pose a substantial
               likelihood of material prejudice to this case; and

       it is FURTHER ORDERED that


1       See also Shepard v. Maxwell, 384 U.S. 333, 358 (1966) (“[T]he courtroom and the
courthouse premises are subject to the control of the court.”); id. at 362–63 (“Due process requires
that the accused receive a trial by an impartial jury free from outside influences. . . . The courts
must take such steps by rule and regulation that will protect their processes from prejudicial outside
interferences. Neither prosecutors, counsel for defense, the accused, witnesses, court staff nor
enforcement officers coming under the jurisdiction of the court should be permitted to frustrate its
function.”); Cox, 379 U.S. at 562 (“The constitutional safeguards relating to the integrity of the
criminal process attend every stage of a criminal proceeding . . . . [t]here can be no doubt that they
embrace the fundamental conception of a fair trial, and that they exclude influence or domination
by either a hostile or a friendly mob.”).
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               all interested participants in the matter, including the parties, any potential
               witnesses, and counsel for the parties and the witnesses, must refrain, when
               they are entering or exiting the courthouse, or they are within the immediate
               vicinity of the courthouse, from making statements to the media or to the
               public that pose a substantial likelihood of material prejudice to this case or
               are intended to influence any juror, potential juror, judge, witness or court
               officer or interfere with the administration of justice.

       There will be no additional restrictions imposed on the defendant’s public statements or

appearances at this time, although this order may be amended in the future consistent with Local

Criminal Rule 57.7(c) if necessary.       This order should not be interpreted as modifying or

superseding the condition of the defendant’s release that absolutely prohibits him from

communicating with any witness in the case, either directly or indirectly. Nor does this order

permit the defendant to intimidate or threaten any witness, or to engage or attempt to engage in

any conduct in violation of 18 U.S.C. §1512.

       Finally, while it is not up to the Court to advise the defendant as to whether a succession

of public statements would be in his best interest at this time, it notes that

one factor that will be considered in the evaluation of any future request for relief based on pretrial

publicity will be the extent to which the publicity was engendered by the defendant himself.

       SO ORDERED.




                                               AMY BERMAN JACKSON
                                               United States District Judge

DATE: February 15, 2019




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